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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS



PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,
                                               Case No. 1:25-cv-11048
                 Plaintiff,

            v.

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.

                 Defendants.




  [CORRECTED] MOTION FOR LEAVE TO FILE AMICUS BRIEF OF HARVARD
  UNDERGRADUATE PALESTINE SOLIDARITY COMMITTEE IN SUPPORT OF
           PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
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        In accordance with Local Rule 7.1(b)(3), proposed amicus curiae, Havard Undergraduate

Palestine Solidarity Committee (PSC), respectfully requests leave to file the attached amicus brief

in support of Plaintiff’s Motion for Summary Judgment (ECF 69) in the above-captioned matter.

In furtherance of this motion, PSC states as follows:


        1.      The Harvard Undergraduate Palestine Solidarity Committee (PSC) at Harvard

University is a student organization dedicated to supporting the Palestinian struggle for self-

determination, justice, and equality through advocacy and non-violent actions.

       2.      PSC submits this proposed brief to contest the unlawful demands of the Trump

administration and Harvard’s adoption and enforcement of the International Holocaust

Remembrance Alliance (IHRA) definition of antisemitism, which enables actionable

discrimination against Palestinian students and those who advocate on their behalf. In the proposed

brief, PSC argues that advocacy for Palestinian human rights, including speech that zealously

criticizes Israel and its policies, is neither objectively offensive nor does it target members of a

protected group, and thus cannot ground a “hostile environment” claim merely because some

students disagree with, are offended by, or feel isolated by the political messages being expressed.

Further, Title VI does not and cannot require universities to suppress criticism of the policies of a

state merely because some members of a protected group take offense to that criticism. And as this

matter demonstrates, when a university selectively censors or punishes speech that advocates for

Palestinian human rights, that conduct threatens the Title VI rights of Palestinian students and

others who advocate on their behalf. This is particularly so when the suppression is motivated by

a discriminatory purpose. There is compelling evidence that such a purpose exists with respect to

state, institutional, and third-party efforts to silence Palestinians advocating for equal rights and an

end to genocide.
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       3.      The Court has discretion to permit the filing of amicus curiae briefs. See Bos. Gas

Co. v. Century Indem. Co., Civ. Action No. 02–12062–RWZ, 2006 WL 1738312, at *1 n.1 (D.

Mass. June 21, 2006) (“[C]ourts have inherent authority and discretion to appoint amici.”). Amicus

briefing is allowed “to assist the court in cases of great public interest by making suggestions to

the court, by providing supplementary assistance to existing counsel, and by insuring a complete

and plenary presentation of difficult issues so that the court may reach a proper decision.” Students

for Fair Admissions, Inc. v. President & Fellows of Harvard Coll., 308 F.R.D. 39, 52 (D. Mass.

2015), aff’d, 807 F.3d 472 (1st Cir. 2015) (internal citations and quotations omitted).


       4.      The proposed brief, excluding the Table of Contents, Table of Authorities,

Certification, and Certificate, does not exceed ten pages in length.


       5.      No     party    has    opposed     the       relief   requested    by   this   motion.

WHEREFORE, Harvard Undergraduate Palestine Solidarity Committee respectfully requests that

this Court grant leave to file the attached amicus brief.


Dated: June 5, 2025                                     Respectfully submitted,


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                             LOCAL RULE 7.1 CERTIFICATION

       I hereby certify that counsel for proposed amicus curiae has conferred with counsel for

the parties. No parties oppose the request for leave to file.



Dated: June 5, 2025                                    Respectfully submitted,


                                                       Ragini N. Shah (BBO# 671382)




                                 CERTIFICATE OF SERVICE
I hereby certify that this document filed through the ECF system will be sent electronically to the

registered participants on the Notice of Electronic Filing (NEF).



Dated: June 5, 2025                                    Respectfully submitted,


                                                       Ragini N. Shah (BBO# 671382)
